                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

  In re:                                           )    Chapter 7
                                                   )
  COMMONWEALTH BUSINESS                            )    Case No. 21-31507
  CREDIT, LLC                                      )
                                                   )    Hon. John P. Gustafson
                           Alleged Debtor.         )


           NOTICE OF WITHDRAWAL OF SCOT A. HINSHAW AS COUNSEL
        OF RECORD FOR DEBTOR COMMONWEALTH BUSINESS CREDIT, LLC

        Pursuant to Local Bankruptcy Rule 2091-1(b), Scot A. Hinshaw, co-counsel for Debtor

Commonwealth Business Credit, LLC (“Debtor”), respectfully requests to withdraw as counsel of

record for this matter due to his departure from the law firm Niehaus Kalas Hinshaw Ltd. Co-

counsel Brian C. Kalas will remain counsel to the Debtor in this case. In further support of this

Notice, Mr. Hinshaw states as follows:

        1.     Mr. Hinshaw is departing the law firm of Niehaus Kalas Hinshaw Ltd. on or about

February 11, 2022, and Mr. Hinshaw will not continue representation of Debtor at his new law

firm.

        2.     Mr. Kalas, of the firm Mr. Hinshaw is departing, has already entered an appearance

on behalf of the Debtor and will substitute in to represent Debtor in this matter.

        3.     This Notice, withdrawal and substitution is made with the Debtor’s knowledge and

consent.




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                                     Respectfully submitted,



                                            /s/ Scot A. Hinshaw
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Service List:

Scot A. Hinshaw, hinshaw@nkh.law, counsel for Alleged Debtor/Debtor
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